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                              9 Attorneys for Plaintiffs
                                Bellagio LLC and
                             10 Mirage Resorts, Incorporated
3993 Howard Hughes Parkway

Las Vegas, NV 89169‐5996




                             11

                             12                                UNITED STATES DISTRICT COURT

                             13                                        DISTRICT OF NEVADA
Suite 600




                             14 BELLAGIO, LLC, a Nevada limited
                                liability company; MIRAGE RESORTS,                       CASE NO. 2:14-cv-1362
                             15 INCORPORATED, a Nevada corporation,
                                                                                         COMPLAINT
                             16                         Plaintiffs,
                             17          vs.

                             18   BELLAGIO CAR WASH & EXPRESS LUBE,
                                  a business organization, and TRI STAR CAR
                             19   WASH, a business organization.

                             20                         Defendants.

                             21

                             22          For their complaint, Plaintiffs Bellagio, LLC, and Mirage Resorts, Incorporated (“MRI”)
                             23   (collectively defined below as “Bellagio”) allege as follows:
                             24                                       NATURE OF THE ACTION
                             25          1.      This is an action by Plaintiffs Bellagio, LLC, and its parent, MRI, against
                             26   Defendants Bellagio Car Wash & Express Lube and Tri Star Car Wash (“Defendants”) for
                             27   trademark dilution and cybersquatting arising out of Defendants’ unauthorized and unlawful use in
                             28   commerce of Plaintiffs’ federally registered BELLAGIO trademarks in connection with

                                                                                   -1-
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                              1   Defendants’ operation of a car wash in Lawndale, California. In this action, Plaintiffs seek

                              2   injunctive relief as well as damages, attorneys’ fees and costs.

                              3                                              JURISDICTION

                              4           2.       This Court has original subject-matter jurisdiction over this action pursuant to 28

                              5   U.S.C. § 1331 and 1338, because Plaintiffs’ claims arise under the federal trademark laws. This

                              6   Court has supplemental jurisdiction over Plaintiffs’ state and common law claims under 28 U.S.C.

                              7   § 1367, because those claims are related to claims under this Court's original jurisdiction and form

                              8   part of the same case or controversy under Article III of the United States Constitution.

                              9           3.       This Court has personal jurisdiction over Defendants. Upon information and belief,

                             10   the Defendants purposefully, willfully, and/or intentionally infringed upon Plaintiffs’ BELLAGIO
3993 Howard Hughes Parkway

Las Vegas, NV 89169‐5996




                             11   trademarks by adopting the world-famous BELLAGIO mark with the scripted B used by the

                             12   Bellagio. Upon information and belief, the Defendants adopted this mark with the knowledge that

                             13   the Bellagio hotel and casino is located in Nevada and with the knowledge that Plaintiffs would
Suite 600




                             14   likely suffer injury or harm resulting from the infringement in Nevada.                Defendants have

                             15   purposefully directed their tortious conduct and activities at Plaintiffs in Nevada and Plaintiffs’

                             16   claims arise out of such conduct and their activities directed at Plaintiffs in Nevada. The exercise

                             17   of personal jurisdiction over Defendants is reasonable.

                             18           4.       Venue is proper pursuant to 28 U.S.C. § 1391(b), because jurisdiction is not

                             19   founded solely on diversity of citizenship and a substantial part of the events or omissions giving

                             20   rise to Plaintiffs’ claims occurred, or a substantial part of property that is the subject of this action,

                             21   is situated in this judicial district.

                             22                                                  PARTIES

                             23           5.       Bellagio, LLC is a Nevada limited liability company with its principal place of

                             24   business in Las Vegas, Nevada. Bellagio owns and operates the Bellagio resort hotel and casino in

                             25   Las Vegas, Nevada.

                             26           6.       Mirage Resorts, Incorporated (defined above as “MRI”) is a Nevada corporation

                             27   with its principal place of business in Las Vegas, Nevada. MRI is the parent company of Bellagio

                             28   and owns the BELLAGIO Marks (defined below) used by Bellagio, LLC. (For convenience, MRI

                                                                                     -2-
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                              1   and
                                    d Bellagio, LLC,
                                                L    will bee collectively
                                                                         y referred to as “Bellagioo” throughouut the Compplaint.)

                              2           7.        Upon inform
                                                              mation and belief,
                                                                         b       Defenndants Bellaagio Car Wassh & Expresss Lube is th
                                                                                                                                     he

                              3   bussiness curren
                                                 ntly operatin
                                                             ng a car wassh under thee name “Bellagio Car W
                                                                                                          Wash & Exprress Lube” at
                                                                                                                                a

                              4   445
                                    57 Manhattaan Beach Bllvd, Lawndaale, Californiia, 90260. Bellagio Caar Wash & E
                                                                                                                   Express Lube

                              5   alsso operates a website att <bellagioccarwash.com
                                                                                   m>. Upon innformation and belief, Tri Star Caar

                              6   Waash is the reg
                                                 gistrant of th
                                                              he domain naame.

                              7                             AL
                                                             LLEGATIO
                                                                    ONS COMM       LL CLAIMS
                                                                           MON TO AL

                              8           8.        The Bellagiio is a world
                                                                           d-famous reesort hotel aand casino loocated on thhe Las Vegaas

                              9   Strrip in Las Vegas,
                                                V      Nevaada. The Beellagio featuures 3,933 gguest rooms, 100,000 sqquare feet of
                                                                                                                                 o

                             10   gam
                                    ming, five pools,
                                               p      the Fo
                                                           ountains of Bellagio,
                                                                       B         a cconservatoryy and botanical garden, the Bellagio
3993 Howard Hughes Parkway

       g , NV 89169‐5996




                             11   Gaallery of Fin
                                                ne Art, a lux
                                                            xury shoppin
                                                                       ng promenadde, a spa andd salon, Cirrque du Soleeil’s O show
                                                                                                                                  w,

                             12   wo
                                   orld-renowneed restauran
                                                          nts, lounges, a nightcluub, weddingg chapels, cconvention and meeting

                             13   roo
                                    oms, and oth
                                               her amenitiess.
Las Vegas,
Suite 600




                             14           9.        Since openiing in 1998, Bellagio haas continuouusly used thee BELLAGIO
                                                                                                                         O trademark
                                                                                                                                   k,

                             15   inccluding the BELLAGIO
                                                 B        word mark
                                                                  k and a markk comprised of the wordd BELLAGIIO against an

                             16   enllarged scriptted B (“B BELLAGIO
                                                            B        Mark”) (coollectively, ““BELLAGIO
                                                                                                     O Marks”) in connection

                             17   witth a wide vaariety of good
                                                              ds and servicces.

                             18

                             19

                             20

                             21                                           B BELLAGI O Mark

                             22           10.       Bellagio has received widespread
                                                                          w          reecognition aand numerouus awards. S
                                                                                                                         Some of these

                             23   aw
                                   wards includee:

                             24                    AAA Five Diamond
                                                             D       Aw
                                                                      ward, 2001 - 2014

                             25                    Celebrated
                                                             d Living #1 Hotel
                                                                         H     in the U.S. Readerrs Choice Plaatinum List, 2009

                             26                    Condé Nastt Traveler Magazine
                                                                         M        G
                                                                                  Gold List of tthe World's B
                                                                                                            Best Places tto Stay, 2008

                             27                    Expedia Insiders Selecct Top Destinnation Resorrt, 2009

                             28                    Forbes Tra
                                                             aveler Maga
                                                                       azine World ’s 400 Best H
                                                                                               Hotels, 20088

                                                                                     -33-
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                              1                   Market Meetrix Hospittality Index Best Upscalle Casino Hootel, 2008

                              2                   Mobil Fourr-Star Mobil Travel Guidde Award, 20008, 2009

                              3                   Travel + Leeisure Maga
                                                                        azine Top 5000 World’s Best Hotels,, 2007 - 20100

                              4                   Travel + Leeisure Maga
                                                                        azine 500, 22010 - 2014

                              5                   Travel Weeekly - Readeers Choice A
                                                                                    Award 2008

                              6                   Qantas Frequent Flyer Favorite Hootel, 2009

                              7                   Zagat Survey Top Overrall, 2008; M
                                                                                    Most Popularr Hotel, 20088

                              8          11.       Bellagio haas spent milllions of dolllars to adveertise and ppromote the BELLAGIO
                                                                                                                                   O

                              9   Maarks and the associated goods
                                                            g     and seervices in a vvariety of m
                                                                                                 media, includding, print, brroadcast, and

                             10   on the Internet through thee web site accessible at < bellagio.coom >.
3993 Howard Hughes Parkway

       g , NV 89169‐5996




                             11          12.       Bellagio haas been featu
                                                                          ured in the m
                                                                                      media throuughout the U
                                                                                                            United Statess and around

                             12   thee world, inclluding in new
                                                              wspapers, magazines,
                                                                        m          teelevision proograms, and movies, succh as Ocean’s

                             13   Eleeven and Occean’s Thirteeen.
Las Vegas,
Suite 600




                             14          13.       Millions of consumers visit
                                                                         v the Belllagio each yyear.

                             15          14.       Bellagio ow
                                                             wns several federal
                                                                         f       tradeemark registrrations for thhe BELLAG
                                                                                                                         GIO Marks on

                             16   thee Principal Register
                                                 R        of th
                                                              he United Staates Patent aand Trademaark Office (““USPTO”) inncluding:

                             17           Tradem
                                               mark                   Reg
                                                                        gistration N
                                                                                   No.                      Goods/Servicees
                             18

                             19

                             20                                           4,218,228              M
                                                                                                 Mattresses

                             21

                             22                                                                  G
                                                                                                 Glass beveragge ware; muugs; drinking
                                                                                                 stteins; cups; pplates; servinng trays not
                             23                                                                  off precious mmetal; cookiee jars; water
                                                                                                 boottles sold emmpty; insulaating sleeve
                             24                                                                  hoolders for beeverage canss;
                                                                                                 thhermal insulaated containners for
                             25                                           4,469,237              beeverages; vaases; coasters not of
                                                                                                 paaper and nott being tablee linen;
                             26                                                                  boottle openerss; cork screw ws; statues
                                                                                                 off china, crysstal, earthenwware, glass,
                             27                                                                  poorcelain, or tterra cotta; hhair
                                                                                                 brrushes; hair combs; and non-metal
                             28                                                                  piiggy banks

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                              1        Tradem
                                            mark            Reg
                                                              gistration N
                                                                         No.               Goods/Servicees
                              2                                                 C
                                                                                Clothing, nam  mely, t-shirtss; tank tops;
                                                                                poolo shirts; sw weatshirts; jaackets;
                              3                                3,702,271        shhorts; sundreesses; two-piece sets
                                                                                coomprised off tops and bottoms;
                              4                                                 heeadwear; sleeepwear; soccks
                                                                                A
                                                                                Art galleries; issuing gift certificates
                              5                                                 w
                                                                                which may thhen be redeem      med for
                                                                                gooods or servvices; providding
                              6                                3,466,804        faacilities for bbusiness meeetings;
                                                                                prroviding infoformation in the field of
                              7                                                 shhopping via the internet
                                                                                R
                                                                                Retail store seervices, nam mely, retail
                              8                                                 appparel and clothing storees; Retail
                                                                                shhops featurinng perfume, cologne,
                              9                                                 coosmetics, peersonal bodyy care
                                                               3,725,616        lootions, soapss, gels and boody sprays;
                             10                                                 R
                                                                                Retail store seervices featuuring
3993 Howard Hughes Parkway




                                                                                haandbags, purrses, shoes aand
       g , NV 89169‐5996




                             11                                                 acccessories; R Retail store sservices
                                                                                feeaturing convvenience stoore items
                             12                                                 C
                                                                                Conducting aand providingg facilities
                                                                                foor special evvents featurinng casino
                             13                                                 annd gaming ccontests and
Las Vegas,
Suite 600




                                                                                toournaments; botanical gaardens;
                             14                                                 heealth club seervices; bookking of
                                                                                thheatre ticketss; special event
                             15                                                 pllanning; cabbarets; night clubs;
                                                               3,466,805        ammusement arrcades; beacch and pool
                             16                                                 cllubs, namelyy, providing fitness and
                                                                                exxercise facilities featurinng pools andd
                             17                                                 baathing and showering faacilities;
                                                                                prroviding infoformation in the field
                             18                                                 off gaming andd entertainm  ment via the
                                                                                innternet
                             19

                             20                                2,964,700        Phhotography services
                             21

                             22                                                 C
                                                                                Casino and enntertainmentt services
                                                               2,570,928        inn the nature oof live perfoormances
                             23                                                 byy singers
                             24

                             25
                                                               2,514,690        H
                                                                                Hotel, beautyy salons and health spas
                             26

                             27

                             28

                                                                        -55-
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                              1        Tradem
                                            mark            Reg
                                                              gistration N
                                                                         No.               Goods/Servicees
                              2                                                 R
                                                                                Restaurant seervices; bar aand lounge
                                                                                seervices; provviding conveention
                              3                                                 faacilities; provviding banquuet and
                                                                                soocial functioon facilities ffor special
                              4                                                 occcasions; cattering; proviiding travel
                                                                                loodging inform mation serviices via the
                              5                                3,491,777        innternet; provviding informmation in thee
                                                                                fiields of dininng, hospitalitty and
                              6                                                 exxhibitions viia the interneet; travel
                                                                                aggency servicces, namely, making
                              7                                                 reeservations aand booking for
                                                                                teemporary loddging, restauurants and
                              8                                                 m
                                                                                meals
                              9

                             10                                2,924,850        W
                                                                                Wedding chappel services
3993 Howard Hughes Parkway

       g , NV 89169‐5996




                             11
                                                                                H
                                                                                Hotels, beautyy salons andd health
                             12        BELLA
                                           AGIO                2,232,487        sppas
                                                                                C
                                                                                Casinos and llive entertainnment
                             13                                                 seervices in thee nature of
Las Vegas,
Suite 600




                                       BELLA
                                           AGIO                2,232,486        peerformancess by singers,
                             14                                                 coomedians, daancers, and m   musical
                                                                                grroups
                             15        BELLA
                                           AGIO                2,964,701        phhotography services
                                                                                C
                                                                                Convention fa  facilities and providing
                             16        BELLA
                                           AGIO                2,915,992        baanquet and ssocial functioon
                                                                                faacilities for sspecial occassions
                             17        BELLA
                                           AGIO                2,959,168        W
                                                                                Wedding chappel services
                                                                                R
                                                                                Real estate innvestment annd real
                             18        BELLA
                                           AGIO                2,873,850        esstate manageement
                                                                                R
                                                                                Retail store seervices, nam mely, retail
                             19                                                 appparel and clothing storees; retail
                                                                                shhops featurinng perfume, cologne,
                             20                                                 coosmetics, peersonal bodyy care
                                       BELLA
                                           AGIO                3,725,615        lootions, soapss, gels and boody
                             21                                                 spprays; retail store servicees
                                                                                feeaturing handbags, pursees, shoes
                             22                                                 annd accessoriies; retail stoore services
                                                                                feeaturing convvenience stoore items
                             23                                                 W
                                                                                Wearing appaarel, namely, t-shirts,
                                                                                taank tops, colllared golf shhirts,
                             24                                                 swweaters, jackkets, joggingg suits,
                                       BELLA
                                           AGIO                2,313,142        swweat shirts, ssweat pants, short
                             25                                                 paants, swim w  wear, dress sshirts,
                                                                                skkirts, blouses, dress pantts, caps,
                             26                                                 haats and banddannas
                                                                                C
                                                                                Cologne, perffume, eau dee toilette,
                             27                                                 boody lotion, hhand cream, bath and
                                       BELLA
                                           AGIO                2,559,405        shhower gels, m  massage oilss, bath
                             28                                                 saalts, bath soaaps, hair shaampoo, hair
                                                                                coonditioner
                                                                        -66-
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                              1          Trademark                  Registration No.                   Goods/Services
                              2          BELLAGIO                       4,218,227            Mattresses
                                                                                             Glass beverageware; mugs; drinking
                              3                                                              steins; cups; plates; serving trays not
                                                                                             of precious metal; cookie jars; water
                              4                                                              bottles sold empty; insulating sleeve
                                                                                             holders for beverage cans; thermal
                              5                                                              insulated containers for beverages;
                                         BELLAGIO                       4,469,238            vases; coasters not of paper and not
                              6                                                              being table linen; bottle openers;
                                                                                             cork screws; statues of china, crystal,
                              7                                                              earthenware, glass, porcelain, or
                                                                                             terra cotta; hair brushes; hair
                              8                                                              combs; and non-metal piggy banks
                                                                                             Towels and washcloths; bed linen,
                              9                                                              namely, bed sheets, duvet covers,
                                         BELLAGIO                       4,422,201            blankets, and pillow
                             10                                                              cases
3993 Howard Hughes Parkway




                                                                                             Sporting events; operation of
Las Vegas, NV 89169‐5996




                             11                                                              casinos; conducting and providing
                                                                                             facilities for special events
                             12                                                              featuring casino and gaming contests
                                                                                             and tournaments; botanical gardens;
                             13                                                              health club services; booking of
                                         BELLAGIO                       4,058,511
Suite 600




                                                                                             theatre tickets; special event
                             14                                                              planning; cabarets; night clubs;
                                                                                             amusement arcades; beach and pool
                             15                                                              clubs, namely, providing fitness and
                                                                                             exercise facilities featuring pools and
                             16                                                              bathing and showering facilities
                                                                                             Restaurant and bar services; cafes;
                             17                                                              cafeterias; snack bars; catering;
                                                                                             providing facilities for exhibitions;
                             18          BELLAGIO                       4,058,518            travel agency services, namely,
                                                                                             making lodging, restaurant and
                             19                                                              meals reservations
                             20          15.    Plaintiffs’ federal trademark registrations for the BELLAGIO Marks are valid and

                             21   subsisting, and have not been abandoned, cancelled, or revoked.

                             22          16.    In addition to its federal trademark registrations, Bellagio owns Nevada state

                             23   trademark registrations and common law rights in and to the BELLAGIO Marks for a variety of

                             24   goods and services.

                             25          17.    Based on the widespread recognition of the BELLAGIO Marks, Bellagio’s

                             26   extensive and widespread use of the BELLAGIO Marks, and other relevant factors, the

                             27   BELLAGIO Marks have become famous within the meaning of the Trademark Dilution Revision

                             28   Act.

                                                                                 -7-
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                              1          18.     Bellagio ow
                                                           wns the exclu
                                                                       usive right too use the BE
                                                                                                ELLAGIO M
                                                                                                        Marks in the U
                                                                                                                     United Statees

                              2   and
                                    d the right to
                                                 o stop otherss from using the same orr similar marrks for even unrelated usses.

                              3                                   The Deffendants’ In
                                                                                    nfringing Coonduct

                              4          19.     Defendants have been using
                                                                      u     the BE
                                                                                 ELLAGIO M
                                                                                         Marks in com
                                                                                                    mmerce to addvertise, offeer

                              5   to sell, and seell car washees under thee business nnamed BELLAGIO CA
                                                                                                      AR WASH & EXPRESS

                              6   LU
                                   UBE located at 4457 Man
                                                         nhattan Beacch Blvd, Law
                                                                                wndale, Caliifornia.

                              7          20.     Below is a comparison
                                                            c          of Defendannts’ exterior signage andd the BELLA
                                                                                                                     AGIO mark:

                              8

                              9

                             10
3993 Howard Hughes Parkway

       g , NV 89169‐5996




                             11

                             12

                             13
Las Vegas,
Suite 600




                             14

                             15

                             16                  (Defendantss’ Mark)                              (Plaintiffs’ Maark)

                             17          21.     Defendants began using
                                                                      g the name BELLAGIO
                                                                                        O CAR WA
                                                                                               ASH & EXPR
                                                                                                        RESS LUBE
                                                                                                                E

                             18   after the BELL
                                               LAGIO Mark
                                                        ks were firstt used, registtered and beccame famouus.

                             19          22.     Not only have Defen
                                                                   ndants adoppted a maark that copies Plaintiiffs’ famou
                                                                                                                        us

                             20    ELLAGIO Marks,
                                  BE       M      Defendants havee adopted, rregistered annd used the <bellagiocaarwash.com>
                                                                                                                           >

                             21   dom
                                    main name. This domaain name is registered too Tri Star C
                                                                                            Car Wash located at 63444 Sepulved
                                                                                                                             da

                             22   Blv
                                    vd., Van Nuys, Californiia.

                             23          23.     Defendants’ use of thee BELLAGIIO Marks iss designed tto usurp andd wrongfully

                             24   trade off of thee substantiall investmentt and goodw
                                                                                     will Plaintiffss have develloped in the BELLAGIO
                                                                                                                                    O

                             25   Maarks. Speciffically, Defen
                                                             ndants hope to use the B
                                                                                    BELLAGIO Marks to ussurp and wroongfully trad
                                                                                                                                de

                             26   offf of Plaintiffs
                                                  fs’ well-know
                                                              wn reputation
                                                                          n for high quuality and luuxury produccts and serviices.

                             27   ///

                             28   ///

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                                  Case 2:14-cv-01362-JCM-PAL Document 1 Filed 08/20/14 Page 9 of 11



                              1             24.   The Defendants’ operation of a car wash using the BELLAGIO mark after

                              2   Plaintiffs’ BELLAGIO Marks have acquired nationwide fame is likely to dilute the distinctiveness

                              3   of Plaintiffs’ BELLAGIO Marks.

                              4             25.   Plaintiffs’ counsel has sent two cease and desist letters to Defendant Bellagio Car

                              5   Wash & Express Lube demanding that Defendant immediately cease and desist from any and all

                              6   use of the BELLAGIO Marks and provide a written response to Plaintiffs’ counsel by

                              7   September 17, 2013.     Defendant failed to respond to the cease and desist letters.

                              8             26.   Plaintiffs have not authorized, consented to, or otherwise licensed Defendants to

                              9   make any use whatsoever of Plaintiffs’ BELLAGIO Marks in commerce.

                             10                                               COUNT I
3993 Howard Hughes Parkway




                                                                       (Trademark Dilution under
Las Vegas, NV 89169‐5996




                             11                                   the Lanham Act, 15 U.S.C. § 1125(c))

                             12             27.   Plaintiffs incorporate the allegations in the preceding paragraphs as if fully set forth

                             13   herein.
Suite 600




                             14             28.   Since 1998, Plaintiffs have engaged in extensive, continuous, and substantially

                             15   exclusive use of their distinctive BELLAGIO Marks in commerce such that consumers throughout

                             16   the United States have come to recognize and associate the BELLAGIO Marks uniquely with

                             17   Plaintiffs.

                             18             29.   Accordingly, the BELLAGIO Marks have become famous throughout the United

                             19   States, within the meaning of the Federal Trademark Dilution Act. While not pertinent to this

                             20   cause of action. Plaintiffs also note that the BELLAGIO Marks have achieved international fame

                             21   as well.

                             22             30.   The Defendants have unlawfully adopted and begun using the BELLAGIO Marks

                             23   in commerce without Plaintiffs’ consent, authorization, or license.

                             24             31.   The Defendants’ unlawful adoption and use in commerce of the BELLAGIO Marks

                             25   without Plaintiffs’ consent, authorization, or license, began after the BELLAGIO Marks became

                             26   famous in the United States.

                             27             32.   The Defendants’ unauthorized and unlawful adoption and use in commerce of a

                             28   mark that is identical to or confusingly similar to Plaintiffs’ BELLAGIO Marks is likely to dilute

                                                                                     -9-
                                  Case 2:14-cv-01362-JCM-PAL Document 1 Filed 08/20/14 Page 10 of 11



                              1   the distinctiveness of Plaintiffs’ BELLAGIO Marks within the meaning of the Federal Trademark

                              2   Dilution Act.

                              3             33.   As a direct and proximate result of Defendants’ conduct, Plaintiffs have suffered,

                              4   and will continue to suffer irreparable injury and damages in an amount to be determined at trial.

                              5                                               COUNT II
                                                                          (Cybersquatting under
                              6                                   the Lanham Act, 15 U.S.C. § 1125(d))

                              7             34.   Plaintiffs incorporate the allegations in the preceding paragraphs as if fully set forth

                              8   herein.

                              9             35.   The    Defendants      have    registered,    trafficked   in,    and/or    used    the

                             10   <www.bellagiocarwash.com> domain.
3993 Howard Hughes Parkway

Las Vegas, NV 89169‐5996




                             11             36.   The <www.bellagiocarwash.com> domain name is confusingly similar to

                             12   Plaintiffs’ BELLAGIO Marks.

                             13             37.   The <bellagiocarwash.com> domain name is confusingly similar to Plaintiffs’ own
Suite 600




                             14   website, <bellagio.com>.

                             15             38.   Plaintiffs’ BELLAGIO Marks were distinctive and/or famous when Defendants

                             16   registered, trafficked in, and/or used the <bellagiocarwash.com> domain.

                             17             39.   Upon information and belief, the Defendants have or had a bad faith intent to profit

                             18   from Plaintiffs’ BELLAGIO Marks when it registered, trafficked in, and/or used the

                             19   <bellagiocarwash.com> domain.

                             20             40.   As a direct and proximate result of Defendants’ conduct, Plaintiffs have suffered,

                             21   and will continue to suffer, monetary loss and irreparable injury to their business, reputation, and

                             22   goodwill.

                             23                                         PRAYER FOR RELIEF

                             24             WHEREFORE, Plaintiffs pray that the Court enter judgment in their favor and against

                             25   Defendants, and that the Court:

                             26             A.    Enter a preliminary and permanent injunction, pursuant to 15 U.S.C. § 1116(a),

                             27   prohibiting the Defendants and their respective officers, agents, servants, employees, and/or all

                             28   other persons acting in concert or participation with them, from using the BELLAGIO Marks, or

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                              1   any confusingly similar variations thereof;

                              2          B.      Enter a preliminary and permanent injunction, pursuant to 15 U.S.C. § 1116(a) and

                              3   15 U.S.C. § 1125(d)(1)(C), prohibiting the Defendants and their respective officers, agents,

                              4   servants, employees, and/or all other persons acting in concert or participation with them, from

                              5   using the BELLAGIO Marks, or any confusingly similar variations thereof, in any Internet domain

                              6   name, and requiring any registrar of the domain name <www.bellagiocarwash.com> to

                              7   immediately place the domain name on hold and lock, prohibiting its transfer, and, upon the entry

                              8   of judgment in Bellagio’s favor or further order of the Court, transferring the registration for the

                              9   domain name to Bellagio;

                             10          C.      Enter an order awarding Plaintiffs compensatory, consequential, statutory, and/or
3993 Howard Hughes Parkway

Las Vegas, NV 89169‐5996




                             11   exemplary damages in an amount to be determined at trial;

                             12          E.      Enter an order awarding Plaintiffs reasonable attorneys’ fees under the Lanham

                             13   Act;
Suite 600




                             14          F.      Enter an order awarding Plaintiffs costs incurred in connection with this matter; and

                             15          G.      Enter an order awarding Plaintiffs such other and further relief as the Court deems

                             16   just and equitable.

                             17          DATED: this 20th day of August, 2014.

                             18                                        LEWIS ROCA ROTHGERBER LLP

                             19                                        By: /s/ Jonathan W. Fountain
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                             23                                        Bellagio LLC and
                                                                       Mirage Resorts, Incorporated
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